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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                   LEXINGTON

 UNITED STATES OF AMERICA,                     )
                                               )
       Plaintiff,                              )
                                               )          No. 5:15-CR-87-DCR-REW-1
 v.                                            )
                                               )        RECOMMENDED DISPOSITION
 SAMUEL A. GIROD,                              )
                                               )
       Defendant.                              )

                                      *** *** *** ***

        The Court considers a motion to dismiss and in limine by Defendant Girod. 1 DE

 #45 (Motion). The United States responded in opposition, DE #49 (Response), and Girod

 replied. DE #51 (Reply). The motion is baseless, and Judge Reeves should fully deny it.

 As explained, most of the arguments hinge on matters for the jury’s determination at trial.

 Others present groundless legal contentions. The trial evidentiary issues also, at least at

 this point, warrant no relief for Girod.

        Girod faces a series of charges that center on alleged violations of the Federal

 Food, Drug, and Cosmetic Act, 21 U.S.C. § 301, et seq., and his interactions with FDA

 investigators. He stands accused of conspiring to prevent FDA officers from fulfilling

 their duties (Count 1), obstructing a pending federal proceeding (Count 2), and grand jury

 witness intimidation (Count 12). Regarding the Act, he is accused in Counts 3-11 of

 introducing in interstate commerce misbranded FDCA “drugs” in violation of the Act’s

 registration and labelling laws. After being represented for part of the case, Girod elected


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  The Court gives proper latitude to Girod, who is pro se. See United States v. McKinney,
 375 F. App’x 479, 481 (6th Cir. 2010) (“We do not require a pro se party to meet the
 same standards in the presentation of his argument as we apply to attorneys.”).


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 to proceed pro se in April 2016. See DE #46 (Minute Entry). The case is set for a July

 2016 trial.

         In the sweeping motion, Girod attacks the Government’s case on multiple fronts.

 The Court has carefully considered the briefing and RECOMMENDS that Judge Reeves

 DENY DE #45 in in its entirety.

 A.      Motion to Dismiss

         Girod in some ways fundamentally misunderstands the import of Rule 12. That

 Rule offers a limited vehicle for attacking an indictment pre-trial. Fed. R. Crim. P.

 12(b)(1) (“A party may raise by pretrial motion any defense, objection, or request that the

 court can determine without a trial on the merits.” (emphasis added)). Certainly,

 structural or fundamental defects in charge or indictment issuance properly fall within the

 Rule’s ambit. Id. 12(b)(3)(A) & (B). However, any argument that essentially seeks a

 motion-based determination of the issues assigned for trial asks too much. See, e.g.,

 United States v. Hann, 574 F. Supp. 2d 827, 830 (M.D. Tenn. 2008) (“An indictment that

 is valid on its face may not be dismissed on the ground it is based on inadequate or

 insufficient evidence. Therefore, a court cannot consider a factual challenge to an

 indictment purporting to show a defect consisting solely of insufficient evidence to prove

 a particular charge.” (citing United States v. Williams, 112 S. Ct. 1735, 1746 (1992)). The

 Rule is not a substitute for or vehicle for avoiding trial of the case. 2



 2
  Girod does not attack the validity of the Indictment’s formulation, elemental
 completeness, or structure. As the Government argues, the Indictment likely is adequate
 under the Russell standards, which Girod does not put into play here. United States v.
 Martinez, 981 F.2d 867, 872 (6th Cir. 1992) (noting constitutional minima of indictment
 as (a) notice of “all of the elements of the charged offense and . . . notice . . . of the
 charges” and (b) sufficient detail to enable a double jeopardy plea, if later applicable);
 United States v. Lentsch, 369 F.3d 948, 952 (6th Cir. 2004) (discussing same in


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        The Court, endeavoring to account for all of Girod’s enumerated complaints,

 groups the theories as ones related to proper agency process, standing, legal

 authority/matters for trial, and grand jury proceedings.

        1. Agency process

        Girod makes several arguments, tethered to the general concept of due process,

 that hinge on the FDA’s role in the prosecution. None has merit.

        First, Girod contends that the prosecution fails because he did not receive a prior

 administrative hearing under 5 U.S.C. § 554. That section, within the Administrative

 Procedure Act, regulates the executive branch hearing process. It does not apply to a

 criminal prosecution in a United States District Court, which is not an “agency hearing.”

 The statute “applies, according to the provisions thereof, in every case of adjudication

 required by statute to be determined on the record after opportunity for an agency

 hearing[.]” 5 U.S.C. § 554; see also id. § 551(1)(B) (definition of “agency” does not

 include the federal courts); id. § 551(7) (“‘adjudication’ means agency process for

 formulation of an order” (emphasis added)); Girod simply misunderstands the impact of

 the APA on this prosecution.

        Second, Girod argues that the FDA failed to comply with 21 U.S.C. § 335, a

 curious statute requiring a form of pre-referral meeting in advance of criminal

 prosecution. The Supreme Court has determined expressly that the statute’s mechanism,

 giving a suspect an “opportunity to present his views,” “is not a prerequisite to



 Information context: “An information ‘adequately charges an offense if it (1) includes the
 elements of the offense intended to be charged, (2) notifies the defendant of “what he
 must be prepared to meet,” and (3) allows the defendant to invoke a former conviction or
 acquittal in the event of a subsequent prosecution.’” (quoting United States v. Cor-Bon
 Custom Bullet Co., 287 F.3d 576, 579 (6th Cir.2002))).


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 prosecution.” United States v. Dotterweich, 64 S. Ct. 134, 135 (1943); U.S. v. Andreadis,

 234 F. Supp. 341, 347 (E.D.N.Y. 1964) (“Section 335 does not require an informational

 hearing pursuant to its provisions before the institution of a criminal proceeding.”).

 Whatever the surface appeal of the statute’s verbage, binding precedent forecloses

 Girod’s theory.

         2. Standing

         Girod next suggests the FDA does not have “standing” in this case because the

 items targeted in the Indictment are not, in fact, “drugs.” See infra section A.3 (discussing

 definition of “drugs”). However, Girod misperceives standing in at least two ways. First,

 “standing,” as Girod casts it, is primarily a civil construct that signifies a party’s right to

 sue or assert a claim. This is a criminal prosecution in which the United States seeks to

 enforce criminal laws governing the nation. The standing of the United States to enforce

 the federal criminal laws is inarguable. See Rice v. Farley, No. 14-31-ART, 2014 WL

 2441260, at *2-3 (E.D. Ky. May 30, 2014) (analyzing criminal standing, noting that

 public rights enforcement, such as criminal prosecution, falls under the Article III “case”

 definition, and stating: “While individualized injury is necessary for private plaintiffs to

 have standing in private litigation, ‘diffuse injuries to the general public’ are enough to

 create standing between the public (the government) and criminal defendants.”). Second,

 the FDA is the investigative arm of the executive branch involved in the case and has

 jurisdiction over the FDCA. See 21 U.S.C. § 393; see also id. §§ 360(b)(1), 374. Further,

 federal district courts have jurisdiction over any federal crimes pursuant to 18 U.S.C. §

 3231, which does not depend or hinge on the FDA’s involvement or non-involvement in

 the case. As such, the Court rejects “standing” as a basis for relief.




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        3. Legal authority and trial matters 3

        Girod proffers various fact-tinged arguments for relief that are not available under

 the limited Rule 12 formulation. To the extent he advocates factual issues—such as,

 whether an item is a “drug” or whether acts constituting obstruction occurred—those

 must await resolution via “trial on the merits.” Fed. R. Crim. P. 12(b)(1); see also United

 States v. Cumberland Wood and Chair Corp., Nos. 91-6058 to 91-6060, 1992 WL

 317175, at *3 (6th Cir. 1992) (“However, if a defendant's pretrial motion requires the

 court to find facts that make up the elements of the case which would normally be

 reserved to the jury on trial of the general issue, the motion should be denied.”).

        Defendant points to various lab results purportedly denying the presence of drugs.

 The reports may be a part of the jury assessment at trial, but importantly, the meaning of

 an FDCA drug turns as much on intent as on chemistry. The statute defines a “drug,” in

 pertinent part, as follows:

        (A) articles recognized in the official United States Pharmacopœia, official
        Homœopathic Pharmacopœia of the United States, or official National
        Formulary, or any supplement to any of them; and (B) articles intended for
        use in the diagnosis, cure, mitigation, treatment, or prevention of disease
        in man or other animals; and (C) articles (other than food) intended to
        affect the structure or any function of the body of man or other animals;
        and (D) articles intended for use as a component of any article specified in
        clause (A), (B), or (C).

 21 U.S.C. § 321(g)(1). Girod is accused of violating registration requirements and of

 trafficking in interstate commerce substances defined as “drugs” under the FDCA,

 particularly because of how Girod labelled the items or intended the substances to

 operate. See United States v. Articles of Drug for Veterinary Use, 50 F.3d 497, 500 (8th


 3
  Girod cites the Old Testament and other biblical passages as a basis for relief. Judeo-
 Christian tradition has undoubtedly contributed to the law in America, but The Bible does
 not itself provide rights or regulate evidence in the United States Courts.


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 Cir. 1995) (citing the FDCA definition of “drug” excerpted above and stating: “This

 statutory definition indicates that whether a product is a drug depends on its intended

 application” (quotation marks and citations omitted)); United States v. Storage Spaces

 Designated Nos. 8 and 49 Located at 277 East Douglas, Visalia, Cal., 777 F2d 1363,

 1366 (9th Cir. 1985) (“The vendor’s intent is the key element in this statutory

 definition.”). Further, alleged promotional material and/or labelling potentially

 contributes to the analysis. See Nat’l Nutritional Foods Ass’n v. Mathews, 557 F.2d 325,

 334 (2d Cir. 1977) (“In determining whether an article is a ‘drug’ because of an intended

 therapeutic use, the FDA is not bound by the manufacturer’s subjective claims of intent

 but can find actual therapeutic intent on the basis of objective evidence. Such intent also

 may be derived or inferred from labeling, promotional material, advertising, and any

 other relevant source.” (quotation marks and citations omitted)); see also 21 C.F.R. §

 201.128 (“[O]bjective intent may, for example, be shown by labeling claims, advertising

 matter, or oral or written statements by such persons or their representatives.”).

        Girod cannot truncate the process by pointing to lab conclusions. Whether the

 FDCA here applies, and whether Girod violated registration and labelling requirements,

 will hinge on jury findings regarding FDCA definitions and elements, all at the

 conclusion of a trial on the merits. The questions include whether the registration

 requirement (21 U.S.C. § 360(b)(1), (c)(1)) applied; whether the substances at issue in the

 Indictment qualified as “drugs” (21 U.S.C. § 321(g)(1)); whether any drugs were

 misbranded (21 U.S.C. § 352(e), (f), (o), (j)); and whether Girod thus engaged in

 prohibited acts (21 U.S.C. § 331(a)). Again, each question requires answers via trial.




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         Movant’s attacks on other counts likewise must await resolution by trial. He

 rhetorically questions “how does one Amish man surround two federal agents?” DE #45,

 at 5. This is a factual point ill-suited to Rule 12 practice. It also ignores that Count 1

 charges conspiracy under 18 U.S.C. § 372.

         4. Grand Jury concerns

         Girod raises several issues regarding the Grand Jury.

         First, he notes that the foreperson did not sign the Indictment. That is inaccurate.

 The original Indictment returned to the Court is signed. See DE #1-1 (Unredacted

 Indictment). The Court, per the District’s Jury Plan and Judicial Conference Policy,

 redacts the name of the foreperson from public documents. The Defendant is entitled to

 see a signed version and may request permission from the Clerk to view the unredacted

 document.

         Second, Girod criticizes or raises doubts concerning the basis for the Indictment

 or the fairness of the Government’s presentation to the Grand Jury. The probable cause

 finding by the grand jury is itself inviolate. See Kaley v. United States, 134 S. Ct. 1090,

 1097-98 (2014) (“[T]he whole history of the grand jury institution demonstrates that a

 challenge to the reliability or competence of the evidence supporting a grand jury’s

 finding of probably cause will not be heard. The grand jury gets to say—without any

 review, oversight, or second-guessing—whether probable cause exists to think that a

 person committed a crime.” (quotation marks and citations omitted)). The process is

 largely secret, per Rule 6, but Rule 16 does assure Girod will have access to proper

 discovery, as defined by that rule, for use at trial. Further, Rule 26.2 and the Jencks Act,

 on precise terms, protect specific access to witness statements, including grand jury




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 testimony. Girod does not have a right to re-litigate or impeach the factual basis for the

 Grand Jury’s decision to indict. 4

 B.     In limine and other issues

        Girod’s multiple in limine requests invalidly raise bias and target prosecution

 advocacy, terms of art, and word choice. The Court divides the requests into two general

 categories. First, Girod cites various bias issues concerning perceived FDA officers

 and/or chemists. To the extent a witness that testifies (or is a hearsay declarant) is biased,

 Girod can, under Judge Reeves’s regulation, offer proper impeachment evidence at trial.

 Fed. R. Evid. 607. The United States denies that any of the persons named will be

 witnesses, suggesting the issue is moot. No ground exists for in limine relief. 5

        Second, Girod argues that the Court should bar the prosecution from using

 various words or phrases at trial. These include direct statutory terms of import (like

 “drug,” “establishment,” “misbranded,” “operate,” “product”) as well as terms of

 identification or geography relevant to the case (such as Girod’s full name and his

 physical address). The Rules of Evidence and proper advocacy will govern the trial.

 Girod offers nothing to suggest a meaningful or legitimate basis for proscribing use of the

 terms at issue. Girod may make a more particular objection in the context of trial, but on




 4
   There are arguments a defendant can make about the validity of grand jury proceedings
 (relative to jury composition and selection), but the Court does not perceive Girod to be
 making any such claim here. See Fed. R. Crim. P. 6(b); 28 U.S.C. § 1867(a). He also does
 not request or show a basis for access to protected Rule 6 information under Rule
 6(e)(3)(E)(ii).
 5
   Nor can Girod, by this motion, re-litigate the Missouri injunction (Indictment, ¶ 14).
 Whether and how that injunction impacts the case will be decided at trial, but Girod’s
 bias claims evidently target persons involved in the Missouri matter, not witnesses for the
 proceedings in this District.


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 this record, the Court recommends no relief. Girod fails to show that any of the terms are

 facially prejudicial in any undue or unfair way. 6

 C.     Conclusion

        For the foregoing reasons, the Court RECOMMENDS that the District Court

 DENY Defendant’s motion (DE #45) in its entirety.

                                        * * * * *

        The Court issues this recommendation under 28 U.S.C. § 636(b)(1)(B). As

 defined by section 636(b)(1) and Rule 59(b), within fourteen days after being served with

 a copy of this recommended disposition, any party may serve and file written objections

 to any or all portions for de novo consideration by the District Court. The parties should

 consult the aforementioned statute and rule for specific appeal rights and mechanics.

 Failure to object in accordance with the Rule waives a party’s right to review.

        This the 8th day of June, 2016.




 6
   The prosecution may or may not prove its case, but the Court must allow the
 prosecution to employ the basic language and nomenclature of the statute, against the
 person and in the locations targeted, in attempting to establish the assertions and crimes
 included in the Indictment.


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